                      IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

IN RE CURTIS THOMPSON,
DODIE THOMPSON
                                                                    Bankruptcy Case Number
        Debtors,                                                       16-80832-CRJ-13

CURTIS THOMPSON,
DODIE THOMPSON,

        Plaintiffs,
                                                                    Adversary Proceeding No.
v.                                                                    21-80070-CRJ

CAPITAL ONE, NATIONAL ASSOCIATION,

        Defendant.

 PLAINTIFFS’ RESPONSE TO DEFENDANT CAPITAL ONE, N.A.’S RESPONSE TO
                       ORDER TO SHOW CAUSE

        COMES NOW the Debtors/Plaintiffs Curtis and Dodie Thompson, by and through their
undersigned counsel, and hereby responds to Defendant Capital One, N.A.’s Response to Order
to Show Cause. Plaintiffs’ counsel maintains his position that Capital One’s actions, as asserted
in the complaint and in this response, violated the automatic stay.

                                        BACKGROUND

     1. The Thompsons filed a Chapter 13 bankruptcy petition on March 17, 2016.
     2. Capital One is listed as a creditor in the schedules filed by the Thompsons.
     3. Capital One filed Proof of Claim number 7 in the Thompson’s case on 4/1/2016 for a
        debt secured by a 2014 Honda Civic. Capital One received payment from the Chapter 13
        Trustee from May of 2016 to March of 2021, which paid 100% of the secured debt.
     4. The Plaintiffs allege that Capital One violated the automatic stay by sending the
        Thompsons a letter in order to create a new security interest and perfect a lien for the
        debt that was paid in full in their case. The letter was sent on May 10, 2021. The first
        page of the letter was titled: “SIGN AND RETURN” and states “The enclosed title
        application form(s) must be signed by each registered owner listed on the current
        title……NOTE: Placing Capital One Auto Finance as the first position lien holder
        on your refinanced title helps you stay in compliance with state and federal law.”
        The attached form was titled: “Notice of Continuous Security Interest or Lien
        Perfection.” (See Exhibit 1 Capital One Letter). Mrs. Thompson signed and returned the

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        form on May 19, 2021 because she thought it was required by law and that they were
        returning her title.
   5.   On May 19, 2021, an Order of Discharge was entered in the Thompsons’ case.
   6.   On May 28, 2021, Mrs. Thompson called Capital One to ask when she would receive her
        title. The call was answered by Capital One’s automated system, which told Mrs.
        Thompson that she owed $12,085.63 on the 2014 Honda Civic, that Capital One
        hasn’t received a payment since March for $37.95, and instructed her to make a
        payment. Mrs. Thompson demanded to be transferred to a representative, who then
        proceeded to tell her that he did not know what she still owed on the vehicle.
   7.   The Plaintiffs assert that after they paid 100% of the debt on the vehicle and had a pending
        discharge, Capital One attempted to refinance the debtors’ fully paid loan, to continue
        their security interest, and demanded payment. It seems likely that the Thompsons’
        account was mishandled and categorized as a Chapter 7 discharge instead of a Chapter
        13 discharge. That is the only plausible explanation for their attempt to refinance the
        vehicle and create, or continue, a security interest. Unfortunately, Capital One has not
        offered any cogent explanation as to their actions in either their answer, which is
        comprised of general denials, or their response to the order to show cause entered by this
        honorable Court.
   8.   In order to avoid incurring unnecessary fees and in the interest of settlement, the plaintiffs
        did not file a motion for contempt and sanctions based on the call, in which Capital One
        demanded payment. Technically, these matters present two separate and discrete causes
        of action with different burdens of proof. See Greenpoint Credit v. McLean, No. 14-
        14002 (11th Cir. 2015). Debtors’ counsel elected not to formally assert the later cause of
        action, both to promote judicial economy, and because an effort at settlement was
        underway. However, information about the phone call and demand for payment was
        included in the adversary proceeding complaint because it provides context to the letter
        sent by the defendant. The Thompsons account with Capital One was clearly still marked
        with a $12,085.63 account balance, and that is the reason why they sent the Thompsons
        a form to refinance the loan and to continue their security interest and lien on the vehicle.
        Further, it should be noted that the phone call was not addressed in Capital One’s
        response to this honorable Court’s show cause order.

                                            ARGUMENT

       The letter sent by Capital One to the Thompsons was a violation of the automatic
stay and the phone call in which Capital One demanded payment was a violation of the
discharge injunction.

        Plaintiffs assert Capital One violated 11 U.S.C. §362(a) in that the letter was:
        - A commencement or continuation, including the issuance or employment of process,
            of a judicial, administrative, or other action or proceeding against the debtor that was

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             or could have been commenced before the commencement of the case under this title,
             or to recover a claim against the debtor that arose before the commencement of the
             case under this title; An act to obtain possession of property of the estate or of
             property from the estate or to exercise control over property of the estate;
        - An act to create, perfect, or enforce any lien against property of the estate;
        - an act to create, perfect, or enforce against property of the debtor any lien to the
             extent that such lien secures a claim that arose before the commencement of the
             case under this title; and
        - an act to collect, assess, or recover a claim against the debtor that arose before the
             commencement of the case under this title;
        Capital One states in their response that they sent the lien release for the 2014 Honda
Civic to the Alabama Department of Motor Vehicles on June 1, 2021, a day before this adversary
proceeding was filed. This appears to be an attempt at correcting their mistake – releasing the
lien instead of continuing it. However, the plaintiffs have not received any evidence that the lien
was released on June 1. In fact, since the debtors mailed the form back to Capital One on May
16, 2021 and did not receive their lien release until June 14, 2021, 12 days after the filing of this
adversary proceeding, the plaintiffs assert that Capital One only realized their mistake after the
filing of the instant case, and likely after filing the form to continue their lien. For what purpose
did Capital One send the letter attempting to refinance the loan and continue the lien, only to
then immediately file a release of the lien? Simple logic indicates that a mistake was made.
        The fact that Capital One did not send post-petition billing statements to the debtors does
not mean that their procedures worked, as stated in their response to the show cause order. Their
procedures did not prevent them from attempting to refinance a debt claimed in the Thompsons’
case, paid in full, and due to be discharged in 9 days. Their procedures did not prevent them
from acting to continue a lien/security interest for the remaining unsecured portion of the debt.
Additionally, it did not prevent their automated call answering system from demanding
payment in the amount of $12,085.63 from the debtors when they called to inquire about
their title. Capital One has not yet responded or provided any cogent explanation as to this
demand for payment. Further, Capital One states in their response to the show cause order that,
to ensure compliance with the automatic stay, their processes stop communications with debtors,
except as necessary to comply with applicable federal, state, and local law. Plaintiffs’ counsel
has not identified any law requiring the sending of the subject letter or the continuation of the
lien.
        The crux of Capital One’s post-settlement defense is that they did not violate the stay
because their attempted continuation of the lien is permitted by 11 U.S.C. § 362(b)(3).
                 11 U.S.C. § 362:
            (b)The filing of a petition under section 301, 302, or 303 of this title, or of
            an application under section 5(a)(3) of the Securities Investor Protection
            Act of 1970, does not operate as a stay—



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                (3) under subsection (a) of this section, of any act to perfect, or to
          maintain or continue the perfection of, an interest in property to the extent
          that the trustee’s rights and powers are subject to such perfection
          under section 546(b) of this title or to the extent that such act is
          accomplished within the period provided under section 547(e)(2)(A) of this
          title;

                11 U.S.C. §546:
          (b)
          (1) The rights and powers of a trustee under sections 544, 545, and 549 of
          this title are subject to any generally applicable law that—
               (A) permits perfection of an interest in property to be effective against
          an entity that acquires rights in such property before the date of perfection;
          or
               (B) provides for the maintenance or continuation of perfection of an
          interest in property to be effective against an entity that acquires rights in
          such property before the date on which action is taken to effect such
          maintenance or continuation.

                11 U.S.C. § 547:
          (e)
               (2) For the purposes of this section, except as provided in paragraph (3)
          of this subsection, a transfer is made—
                    (A) at the time such transfer takes effect between the transferor and
               the transferee, if such transfer is perfected at, or within 30 days after,
               such time, except as provided in subsection (c)(3)(B);


        In general, the purpose of 11 U.S.C. § 362(b)(3) is to allow creditors the ability to perfect
a lien on property which was obtained before the debtor’s bankruptcy filing, but was not yet
perfected before the commencement of the case, or a lien that became invalidated post-petiton.
The following cases are examples of the purpose of §362(b)(3). In re 800 Bourbon St. LLC,
Ruling: “Lien that was invalidated postpetition could be continued without violating the
automatic stay and was not subject to avoidance.” Branch Banking & Trust Co. v. Construction
Supervision Servs. (In re Construction Supervision Servs), Ruling: “Liens that arose upon
subcontractor's prepetition delivery of materials were interests in debtor's property, even though
not perfected on petition date.”


                                         CONCLUSION
        In sum, Capital One is arguing that the Thompsons’ bankruptcy filing did not operate as a
stay as to their efforts to continue the lien on the debtors’ property. This argument fails for
several reasons. The letter was not only an attempt to continue the lien, it was an attempt to
refinance the loan, which had been paid in full through the Thompsons’ Chapter 13 plan. For

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what purpose would Capital One attempt to refinance the loan and continue the lien after
receiving payment in full from the trustee with a clearly impending discharge order? Further,
even if Capital One had a continuing interest in the property, any remaining interest they had was
unsecured. The value of Capital One’s interest in the property, the secured portion of the debt as
controlled by the claim, was paid in full. Capital One’s attempt to refinance the debtors’ loan and
continue their lien does not serve any legitimate purpose and does not fit within any exception to
the automatic stay. Capital One’s actions run counter to the automatic stay and are contrary to
the mandates embodied in the Federal Bankruptcy Code – most notably, undermining the debtors
hard earned fresh start.
        The Plaintiffs still wish to settle this matter, and are satisfied with the settlement reached
by their counsel. However, the Plaintiffs will respectfully follow the recommendations of this
honorable Court.




                                       Respectfully submitted this the 14th day of January, 2022.



                                                      /s/ John C. Larsen_________________
                                                      John C. Larsen
                                                      Attorney for the Debtors/Plaintiffs
                                                      Curtis and Dodie Thompson


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                                CERTIFICATE OF SERVICE

      The undersigned certifies that the foregoing has been filed via the Court’s CM/ECF system,
which will electronically notify the below listed attorneys of record, on this the 14th of January,
2022.

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